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                            UNITED STATES DISTRICT COURT

                             DISTRICT OF MASSACHUSETTS


MOHAMMAD BOZORGI, et al., Individually )            No. 1:24-mc-91041
and on Behalf of All Others Similarly Situated, )
                                                )   CLASS ACTION
                             Plaintiff,         )
                                                )   REPLY IN FURTHER SUPPORT OF
       vs.                                      )   PLAINTIFFS’ MOTION TO COMPEL
                                                )   [Leave to File Granted on March 14,
CASSAVA SCIENCES, INC., et al.,                 )   2024]
                                                )
                             Defendants.
                                                )
                                                )




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         Lead Plaintiff Mohammad Bozorgi and additional plaintiffs Ken Calderone and Manohar

Rao (collectively, “Plaintiffs”) respectfully submit this short reply to Quanterix Corporation’s

(“Quanterix”) Opposition to Plaintiffs’ Motion to Compel the Production of Documents.

         First, Quanterix incorrectly asserts that Plaintiffs failed to demonstrate the relevance of the

68 documents at issue. ECF 20 (the “Opp.”) at 5-6. As explained in Plaintiffs’ motion, these

documents directly relate to Quanterix’s decision to issue a corrective statement to a press release by

defendant Cassava Sciences Inc. (“Cassava”). See ECF 2 (the “Mot.”) at 2-4. Plaintiffs in the

underlying securities fraud action allege that this very press release contained materially false and

misleading statements regarding Quanterix. See id. Quanterix did not question the relevance of the

other documents it produced on this same issue and provides no basis for its assertion that these 68

documents are irrelevant. After all, these documents are highly probative regarding why Quanterix

issued the corrective statement and whether it viewed Cassava’s press release as misleading. Not

surprisingly, Quanterix concedes that the contested communications do, in fact, concern its decision

to issue the corrective statement. See Opp. Ex. 2, ¶6. The documents are, therefore, relevant.

         Second, Quanterix claims for the first time that the PR Consultants were consulted in order to

draft a press release that would “deter[]” hypothetical investigations. Opp. at 15. But this

unsupported “post hoc representation[]” is nowhere reflected in the record and thus cannot carry

Quanterix’s burden. See Lynx Sys. Devs., Inc. v. Zebra Enter. Sols. Corp., 2018 WL 1532614, at *2

(D. Mass. Mar. 28, 2018). Three of the four PR Consultants were retained before Cassava issued its

misleading press release, and none of their retention agreements makes any mention of legal advice

or any litigation-related task. See Opp. Ex 2, ¶¶10-12, 16. Nor does Quanterix’s own sworn

affidavit or any other evidence cited by Quanterix mention “deterring” investigations. See Opp.

Ex. 2. Thus, Quanterix has “simply failed to provide any contemporaneous documentation to

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suggest that these communications were for the purpose of obtaining legal advice from the lawyer.”

Zebra, 2018 WL 1532614, at *3.1

         The unavoidable conclusion that PR consultant communications are non-privileged is also

bolstered by Quanterix’s concession that the PR Consultants “consulted” on ordinary public relations

functions “to manage media inquiries” and inform “whether and how to issue a statement.” Opp. at

15; see also id. at 8; Opp. Ex. 2, ¶¶8-12. These communications are not privileged. See In re Signet

Jewelers Ltd. Sec. Litig., 332 F.R.D. 131, 136 (S.D.N.Y. 2019), aff'd, 2019 WL 5558081 (S.D.N.Y.

Oct. 23, 2019) (“talking points” regarding a lawsuit, as well as statements to be made to the press,

provided by a public relations consultant to in-house counsel only related to “‘[m]essaging’” and

were “not directed at giving or obtaining legal advice”) (alteration in original). Courts have rejected

the same arguments Quanterix makes here on similar facts. See In re Valeant Pharms. Int'l, Inc. Sec.

Litig., 2021 WL 3140050, at *4-*5, *13 (D.N.J. July 22, 2021), objections overruled, 2021 WL

4272654 (D.N.J. Sept. 21, 2021) (“Valeant has failed to present any facts or descriptions as to how

Vianovo assisted Covington on Valeant’s behalf in providing legal services or legal advice to the

Company or what was done in that regard.”) (emphasis in original).

         Likewise, Quanterix fails to explain why the PR Consultants were necessary for its lawyers

to provide legal advice, relying instead on conclusory assertions. See Opp. at 15; Zebra, 2018 WL

1532614, at *2 (noting “the third party’s participation must be ‘nearly indispensable’”). This is fatal

to Quanterix’s privilege assertion because PR consultants are “‘far from serving the kind of

“translator” function served by the accountant in Kovel.’” Universal Standard Inc. v. Target Corp.,

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        Under these circumstances, Quanterix’s reliance on Stardock Sys., Inc. v. Reiche, 2018 WL
6259536 (N.D. Cal. Nov. 30, 2018), and In Re Grand Jury Subpoenas Dated Mar. 24, 2003, 265 F.
Supp. 2d 321 (S.D.N.Y. 2003), is inapt. Courts have largely limited Grand Jury and its progeny to
its unique facts. See Mot. at 15-16. And, unlike here, those cases concern public relations firms
hired by counsel to address a specified legal goal in already ongoing, high profile litigation.

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331 F.R.D. 80, 88 (S.D.N.Y. 2019). It is implausible on this record that any of the PR Consultants,

let alone all four, were “indispensable.” See Zebra, 2018 WL 1532614, at *2. Even if the PR

Consultants were helpful, “[t]he fact that ‘an attorney’s ability to represent a client is merely

improved by the assistance of the third party’ is not enough to avoid the waiver of the privilege.”

Opp. at 13. There is no support for Quanterix’s position that all of these communications concerned

the provision of legal advice, as opposed to non-privileged public relations functions, or that their

disclosure to third-party PR Consultants was strictly necessary for the provision of legal advice.

         Third, Quanterix claims for the first time that two consultants, Heidi Creighton and Jamie

Taylor, are the “functional equivalent” of employees. Id. at 16. Tellingly, Quanterix neither made

this claim during pre-motion meet and confer sessions nor provides any support that these

individuals were de facto Quanterix employees. Quanterix does not, for example, contend that

Creighton and Taylor

         exercised independent decision-making on the company’s behalf; possessed
         information held by no one else at the company; served as a company representative
         to third parties; maintained an office at the company or otherwise spent a substantial
         amount of time working for it; [or] sought legal advice from corporate counsel to
         guide his or her work for the company.

Universal Standard, 331 F.R.D. at 89. Rather, the Opposition confirms (and Quanterix’s authority

agrees) that Creighton and Taylor were retained as mere consultants. See Zebra, 2018 WL 1532614,

at *4 (finding consultants were not the functional equivalent of employees where, like here,

consultants were “paid hourly, worked from their own locations, were not obligated to work

exclusively for [Quanterix], and did not act as [Quanterix]’s sole representatives with respect to the

matters being negotiated”). As courts have observed: “‘Businesses routinely rely on other

companies to carry out important functions and services . . . . If this relationship satisfied the




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functional equivalent standard, the exception could well swallow the rule.’” Universal Standard,

331 F.R.D. at 90-91.2

         Fourth, Quanterix concedes there was no actual or threatened litigation pending at the time it

engaged the PR Consultants to respond to the Cassava statement. Opp. at 17-20. It also does not

dispute Plaintiffs’ authority that an anticipated investigation is insufficient to trigger the work-

product doctrine. See Mot. at 18-19. Thus, the drafts of Quanterix’s press release are not work

product. The Opposition also confirms that Quanterix’s press release was not created “‘for use in

litigation,’” but was “‘prepared for some [other] purpose’” (i.e., to correct the public record). See

United States ex rel. Wollman v. Mass. Gen. Hosp., Inc., 475 F. Supp. 3d 45, 61 (D. Mass. 2020)

(quoting United States v. Textron Inc. & Subsidiaries, 577 F.3d 21, 29 (1st Cir. 2009)). As such, the

press release is not work product. See Wollman, 475 F. Supp. 3d at 61. This conclusion is further

compelled by the fact that work-product protection is not triggered because: (i) “the subject matter of

a document relates to a subject that might conceivably be litigated” (id. at 61); or (ii) “the materials

were prepared by lawyers or represent legal thinking.” Textron, 577 F.3d at 29-30.

         Fifth, Quanterix incorrectly suggests that Plaintiffs: (i) demanded that it collect and review

over 60,000 documents in response to their subpoena (Opp. at 3); and (ii) reneged on agreements

regarding the scope of Quanterix’s privilege log. Id. at 4. As is apparent from Quanterix’s

declaration (Opp. Ex. 2, ¶19), Quanterix itself determined what an appropriate search would be and

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         Quanterix’s citation to In re Copper Market Antitrust Litig., 200 F.R.D. 213 (S.D.N.Y. 2001)
is misplaced. Unlike here, that case involved a foreign corporation then involved in “high profile
litigation,” whose principals did not speak English well, “lacked experience in dealing with the
Western media,” and relied on public relations consultants “essentially, incorporated into [the
foreign corporation]’s staff. Id. at 215, 219. And, unlike here, the consultants in that case
“possessed authority to make decisions on behalf of [the foreign corporation] concerning its public
relations strategy.” Id. at 219. Similarly, F.T.C. v. GlaxoSmithKline, citing In re Copper Market,
found that the consultants in that case were “‘completely intertwined’” in the company there. 294
F.3d 141, 148 (D.C. Cir. 2002). Those circumstances are not present here.

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undertook it – without informing Plaintiffs of the volume of documents involved or the purported

burden on Quanterix. See id. Quanterix, indeed, never suggested that the scope of the subpoena

should be narrowed, until now.

         Nor did Plaintiffs agree that they would refrain from seeking additional information from

Quanterix to substantiate its privilege claims. Once it became apparent that Quanterix was

attempting to: (i) assert the attorney-client privilege over communications disclosed to third-parties;

and (ii) claim work-product protection over documents created when no litigation was threatened or

pending, Plaintiffs sought additional information to determine whether a waiver had occurred or if

the documents were privileged in the first instance. Contrary to Quanterix’s declaration (id., ¶21),

Plaintiffs never expressed that their privilege inquiry would be satisfied by a review of redacted

retention agreements. See Declaration of Kevin A. Lavelle in Support of Motion for Leave to File

Reply (filed herewith). Plaintiffs instead expressed concerns regarding Quanterix’s privilege

designations and diligently collected facts before determining that the documents were likely not

privileged. See ECF 3, ¶¶2-3; Opp. at 4; Opp. Ex. 2, ¶21.

         Finally, Quanterix makes a throwaway request for costs in opposing Plaintiffs’ motion

without any legal citation. For this reason alone, the Court should decline its request. Further, even

if the Court does not grant the relief sought by Plaintiffs (which it should), costs are inappropriate

where, as here, Plaintiffs’ motion was brought in good faith due to their genuine dispute with

Quanterix over the documents sought. See, e.g., Greenberg v. Paths Program Holding, LLC (MA),

2023 WL 3868318, at *4 (D. Mass. June 7, 2023) (citing authorities).

         For these reasons and those stated in their motion, Plaintiffs respectfully request that the

motion to compel be granted or, in the alternative, that the Court undertake an in camera review of a

subset of the documents at issue in order to assess Quanterix’s claims of privilege and work product.

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DATED: February 28, 2024                Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         I hereby certify under penalty of perjury that on March 14, 2024, I filed the foregoing

document electronically, that the foregoing document will be served electronically to registered

CM/ECF participants via the NEF, and that I will send paper copies to non-registered participants

as indicated on the NEF.

                                                 /s/ Kevin A. Lavelle
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